   Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 1 of 35 PageID #:363




                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

JOHN FIX,                                  )
                                           )      Case No. 21-cv-02843
      Plaintiff,                           )
                                           )
            vs.                            )      Judge Sharon Johnson Coleman
                                           )      Magistrate Judge Fuentes
CITY OF CHICAGO, Former                   )
Chicago Police Officer MICHAEL            )
SEISER #4615, Chicago Police              )
Officers REGINALD FOSTER                  )
#5943, BOJAN SIMIC #12847,                )
RICHARD BANKUS #6769,                     )
BRANDON NEITA-SCOTT #18908,               )
SERGEANT SHANNON MARTIN                   )
#2585, and Unknown Chicago                )      JURY TRIAL DEMANDED
Chicago Police Officers,                  )
                                          )
      Defendants.                         )

                             AMENDED COMPLAINT

      NOW COMES Plaintiff, JOHN FIX, by and through his attorneys, BREEN &

PUGH and STEVEN H. FINE, complaining of the CITY OF CHICAGO, Former

Chicago Police Officer MICHAEL SEISER, Chicago Police Officers REGINALD

FOSTER, BOJAN SIMIC, RICHARD BANKUS, BRANDON NEITA-SCOTT,

SERGEANT SHANNON MARTIN, and Unknown Chicago Police Officers

(collectively “Defendants”), and alleges as follows:

                                    Introduction

      1.     On the evening of May 31, 2020, at the corner of Hubbard and Clark

Streets in Chicago’s River North neighborhood, Plaintiff John Fix was brutally

assaulted and beaten with batons by on-duty Chicago police officers in broad
   Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 2 of 35 PageID #:364




daylight while being filmed by citizens, the news media, and by surveillance

cameras from a local business. The Chicago police officers involved in this case

knew that their actions would not land them in any trouble and, as such, they

openly and wantonly beat Plaintiff in public on video.

      2.     Former Chicago Police Officer Michael Seiser repeatedly beat Plaintiff

about the head and body with his police baton while Plaintiff was lying helpless on

the ground. Other officers, including Officers Foster, Simic, and Neita-Scott,

participated in the assault against Plaintiff, holding him on the ground, while

Officer Foster beat Plaintiff repeatedly on his legs with a baton. Chicago Police

Sergeant Martin, Former Chicago Police Officer Michael Seiser, and other Chicago

police officers, including Officer Reginald Foster, falsely arrested Plaintiff.

      3.     Despite doing nothing wrong or unlawful, the officers who brazenly

beat Plaintiff then arrested him, ultimately charging him with an offense that was

dismissed in court. As a result of Defendants’ conduct, Plaintiff suffered severe

injuries, which included injuries to his head, a concussion, contusions and

lacerations to his body, and emotional trauma.

                              Jurisdiction and Venue

      4.     This action is brought pursuant to 42 U.S.C. § 1983 to redress the

deprivation under color of law of Plaintiff’s constitutional rights as secured by the

United States Constitution.

      5.     The Court has jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1367 as Plaintiff asserts claims under federal law and his state law claims

                                            2
   Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 3 of 35 PageID #:365




all arise out of the same facts as his federal claims.

      6.      Venue is appropriate in this Court under 28 U.S.C. § 1391(b) because

the events giving rise to Plaintiff’s claims occurred in this District, and because at

least one of the Defendants resides in this District.

                                        Parties

      7.      Plaintiff JOHN FIX is twenty-one (21) years old. He resides in

Chicago, Illinois and is a United States citizen.

      8.      Defendants were, at all relevant times, employed by the City of

Chicago as sworn police officers. All of the Chicago Police Officers are sued in their

individual capacities.

      9.      Defendant City of Chicago is a municipal corporation of the State of

Illinois and is and was, at all relevant times, the officer defendants’ employer. The

City of Chicago maintains, manages and/or operates the Chicago Police

Department.

                                         Facts

      10.     In the wake of the police killings of George Floyd, Breonna Taylor, and

countless others, residents of the City of Chicago took to the streets to peacefully

protest in downtown Chicago over the weekend of May 29-31, 2020.

      11.     Officers from the Chicago Police Department responded to the protests

with brutal force, violence, and unconstitutional tactics intended to injure and

silence protestors lifting their voices against police violence.



                                            3
   Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 4 of 35 PageID #:366




      12.    On the evening of May 31, 2020, at approximately 8:00 p.m., Plaintiff

joined a peaceful protest he encountered in the River North neighborhood of

Chicago’s downtown area. Plaintiff joined the march to express his opinion that the

police must be held accountable to the communities they serve and to express his

support for victims of police violence.

      13.    When Plaintiff reached an area just south of the Hubbard and Clark

intersection he observed a man lying on the sidewalk and surrounded by police. As

Plaintiff attempted to assist the man, police used their bikes to push him and others

away from the area. Additional officers arrived on the scene dressed in full riot gear,

armed with pepper spray and riot batons.

      14.    After the arrival of these additional officers in riot gear, officers

became increasingly aggressive toward the crowd and Plaintiff. Chicago police

officers, including Defendants, shoved Plaintiff and knocked him to the ground.

      15.    During the beating, Defendants struck Plaintiff repeatedly about his

head and body, struck him with riot batons, and continued to hit him while he was

collapsed on the ground and in a prone position.

      16.    The unjustified beating continued while Plaintiff screamed for help. At

times, multiple assaulting officers beat Plaintiff simultaneously.

      17.    Additionally, police officers took Plaintiff’s backpack, necklace, and

smashed his cell phone with batons. Defendants never returned Plaintiff’s property

to him.

      18.    Below are images of Defendants’ beating of Plaintiff with batons:

                                          4
Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 5 of 35 PageID #:367




                                     5
   Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 6 of 35 PageID #:368




      19.    Throughout the ordeal, Plaintiff did not struggle or resist Defendants

in any way. Plaintiff repeatedly begged Defendants to stop and asked Defendants

why they were beating him, but the officers refused to answer. The beating

continued while other officers watched this occur to Plaintiff without intervening or

rendering aid.

      20.    Plaintiff was subsequently handcuffed, detained in the back of a police

vehicle, and ultimately charged with disorderly conduct. The arresting officers did

not make any observations that would lead a reasonable officer to believe Plaintiff

committed an offense. The prosecutor subsequently dismissed the criminal offense.

      21.    As a result of the attack, Plaintiff has sustained severe physical

injuries, including a traumatic head injury, head laceration, bruised ribs, and

severe leg pain. Although Plaintiff suffered a visible injury to his head, officers

failed to provide any medical treatment. Below are images of some of Plaintiff’s

injuries caused by Defendants:




                                         6
   Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 7 of 35 PageID #:369




      22.    Also, as a result of the attack, Plaintiff sustained severe emotional

injuries including, but not limited to, fear of additional attacks, fear of retaliation by

the officers, fear of other members of the Chicago Police Department, humiliation,

and other emotional injuries.

      23.    Security cameras from a business located at the southwest corner of

Hubbard and Clark captured much of the attack on videotape. The Chicago Police

Department had access to the tape and several witnesses within days of the

beating.

      24.    On information and belief, not one of Defendants reported any of the

other assaulting officers’ misconduct. Furthermore, non-assaulting officers failed to

report any of Defendants’ misconduct.

      25.    While this incident was reported to the City of Chicago Civilian Office

of Police Accountability (“COPA”), COPA has utterly failed to maintain

communication with Plaintiff.

      26.    As a result of the deficient investigation of Defendant officers’ conduct

by the City of Chicago, the complaints and evidence related to Plaintiff’s beating

were improperly and insufficiently addressed and/or allowed to occur without

consequence.

      27.    The Chicago City Council has long been aware of the disciplinary

failures of the Chicago Police Department. At an October 2007 City Council

meeting, a Council member remarked of the Office of Professional Standards

(“OPS”) that “there is no follow-up [of citizen complaints], and that I think we have

                                            7
   Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 8 of 35 PageID #:370




to move beyond the code of silence and the protection of the police officers and

command staff at any cost.” Although the City has long been aware that its

supervision, training, and discipline of police officers are entirely inadequate, it has

not enacted any meaningful measure to address that failure.

      28.    From 2001-2006, only 0.2% of complaints against officers were

meaningfully sustained (resulting in a week or more suspension), with 662 officers

having 11 or more complaints against them. A brutality complaint was 94% less

likely to be sustained in Chicago than in the rest of the nation.

      29.    In 2007, and in response to growing issues surrounding police

accountability in Chicago, the City Council enacted an ordinance to replace OPS

with a civilian-run agency called the Independent Police Review Authority (“IPRA”).

      30.    OPS investigators simply became IPRA investigators. For years, IPRA

used the OPS manual as its operational manual.

      31.    Like OPS, IPRA served to protect police officers. It failed to fairly and

impartially investigate citizen complaints, and it failed to promote its stated

purpose of transparency and police accountability.

      32.    Currently, the Civilian Office of Police Accountability is tasked with

investigating improper use of force allegations against Chicago Police officers.

      33.    As a direct result of the City of Chicago’s failure to properly investigate

claims of police brutality and misconduct, a code of silence and/or “blue shield”

exists within the police department, wherein officers cover up the misconduct of



                                           8
   Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 9 of 35 PageID #:371




their fellow officers, allowing officers to act with impunity and to believe their acts

of misconduct will not be properly investigated and will go unpunished.

      34.    The Chicago Police Department has a long history of covering up its

officers’ misconduct. Defendant City of Chicago has been aware of this widespread

custom and practice for many years.

      35.    In the case of Klipfel v. City of Chicago, et. al., 94 C 6415, former

Chicago Police Department Superintendent Kline testified at his deposition that a

code of silence exists within the department.

      36.    On December 9, 2015, former Mayor Rahm Emanuel acknowledged

that a code of silence exists and has long existed within the Chicago Police

Department. Mayor Emanuel stated that this tendency to ignore, deny, or cover up

police officers’ bad actions leads to a culture where extreme acts of abuse are more

likely. A task force was created to investigate both CPD and IPRA. Mayor Lightfoot

headed the task force, and it was called the “Police Accountability Task Force”

(PATF). The PATF concluded that a code of silence exists within the Chicago Police

Department. The task force found the code of silence is “institutionalized and

reinforced by CPD rules and policies that are also baked into the labor agreements

between various police unions and the City.” In December 2016, the President of the

officers’ unit in Chicago admitted that there is a “code of silence” in the Chicago

Police Department. The same code of silence and ineffective system of police

oversight were in place when Plaintiff’s constitutional rights were violated.



                                          9
  Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 10 of 35 PageID #:372




      37.    Additionally, the task force found that IPRA “investigations are

riddled with structural, cultural and procedural problems that cast doubt on the

investigating agencies’ intentions and integrity and larger oversight system.

Misconduct goes uninvestigated despite the availability of information about these

incidents; unreasonable and unjustified procedures hamper investigations, and the

investigative agencies lack the resources and support to be effective and show

troubling signs of bias.”

      38.    The United States Department of Justice (DOJ) investigated the

Chicago Police Department and released a report with its findings in January 2017.

The DOJ concluded the following:

             a.     Deficiencies in CPD’s training, supervision, accountability, and

other systems had contributed to a pattern and practice of excessive force;

             b.     The CPD failed to review its force practices as a whole to

identify problematic trends and patters that endangered the officers and the

community; and

             c.     The CPD failed to provide its officers with adequate guidance to

understand how and when they may use force or how to safely and effectively

control and resolve encounters to reduce the need to use force.

      39.    The DOJ report concluded that IPRA did not properly investigate

allegations of police misconduct. For instance, the DOJ report found that IPRA

sustained fewer than 2% of the 30,000 police misconduct complaints Defendant City

received from 2011 to 2016.

                                         10
   Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 11 of 35 PageID #:373




       40.      The DOJ report became the basis of legal action against the Defendant

City by the Illinois Attorney General’s Office. In January 2019, Defendant City

entered into a court-approved consent decree designed to reform the Chicago Police

Department.

       41.      An Independent Monitoring Team (IMT), overseen by Judge Robert M.

Dow, Jr., assesses the City and CPD’s compliance with the Consent Decree in

biannual reports. In the first report, the City and CPD failed to meet even

preliminary compliance standards for 52 of 67 paragraphs of the Consent Decree.

The City and CPD missed 37 of 50 deadlines. The second report was no better. In

that report, filed June 18, 2020, the City and CPD missed 52 of 74 deadlines. The

City’s failure to comply with standards resulted in the plaintiff’s injuries as alleged

in this case.

       42.      CPD continues to fail at reforming its unconstitutional practices and

the City of Chicago continues to be deliberately indifferent to its failures.

       43.      The code of silence operates in cases like this to shield and protect

Defendants, or to lessen the consequences to them by shaping the narrative in their

favor. The non-assaulting officers participate in the code of silence by explicitly or

implicitly agreeing to adopt a false narrative, or to conceal facts and evidence

harmful to their fellow officers, in order to help them.

       44.      In fact, in this case, despite instances of sustained police misconduct by

Defendants, the City permitted Defendants to remain on the street and continue a

pattern of abuse against residents of Chicago like Plaintiff.

                                            11
  Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 12 of 35 PageID #:374




      45.    The historical failures by the City of Chicago to properly investigate

allegations of excessive force by its members; its long history of failing to discipline

its officers for improper use of force; its failure to investigate or punish officers who

participate in the code of silence to protect and conceal the misconduct of fellow

officers have all contributed to the continued uses of excessive force and the

continued existence of the code of silence in the Chicago Police Department and in

the City's agencies. These failures by the City have encouraged officers in their

belief that they can engage in misconduct, or they can help to conceal it without any

consequences.

      46.    The City of Chicago Police Department has inflicted beatings on

protestors, arrested protestors without probable cause-unlawfully depriving them of

their freedom in retaliation for protest activities.

      47.    The police departments’ violent protest-related policies and practices

were documented in 1855 and have continued for over a century.

      48.    The police response to the 1960’s Black Freedom Movement with

violent and repressive tactics. The police use of tear gas on protestors was prelude

to more aggressive action. Mayor Richard J. Daley ordered police to shoot to kill

arsonists and shoot to maim and cripple anyone suspected of involvement in

property-related crimes.

      49.    The police violence against protestors continued during the Democratic

National Convention. Chicago police officers used tear gas against a large crowd of

protestors outside a hotel. Police used similar techniques to trap protestors in

                                           12
  Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 13 of 35 PageID #:375




certain parts of the city before deploying tear gas against the protestors. Several

protestors were attacked and beaten with police riot batons. Over 500 protestors

and multiple civilians reported injuries due to the police officers’ actions.

      50.    The anti-war protests in Chicago and the City’s response prompted the

federal   government     to   create   a    commission    to    investigate   and    make

recommendations regarding the protests.

      51.    The 1968 Commission compared the CPD to the police departments

responding to protest elsewhere in the country. The finding concluded that “in

Chicago the authorities were restrictive in granting demonstration permits, some of

the police, deliberately goaded by verbal and physical attacks of small militant

groups, responded with excessive force not only against the provocateurs, but also

against peaceful demonstrators and passive population against the authorities and

in favor of the demonstrators.”

      52.    The    Commission       also   detailed    how    CPD   “without      coherent

planning…clubbed      and     tear   gassed    guilty   and    innocent   alike,    chasing

demonstrators through the streets….bystanders who had taken no part in the

demonstrations were attacked by police officers.” The commission further found

that CPD responded to the protests with “unrestrained and indiscriminate violence

on many occasions,” often inflicted upon “peaceful demonstrators, onlookers, and

large numbers of residents who were simply passing through, or happened to live

in, the areas where confrontations were occurring.”



                                              13
  Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 14 of 35 PageID #:376




      53.     CPD’s violence against protestors continued into the 1990s. On April

10, 1990, protestors gathered to protest the firing of a school principal. CPD officers

screamed racial slurs at the protestors and used brutal force against them. As a

result of the brutal use of force by officers, 14 people required medical treatment.

      54.    The police response to a protest on April 23, 1990, resulted in several

protestors being falsely arrested and others sustained multiple injuries. Police beat

protestors by pushing, shoving, and throwing protestors to the ground.

      55.    On December 29, 1990, protestors gathered in protest of the Gulf War.

Chicago police officers were observed striking protestors in the case, placing them in

choke-holds, and conducting false arrests.

      56.    On June 24, 1991, Chicago police officers used force against a group of

protestors gathered at a medical convention. One officer was seen throwing a

protestor onto the pavement, punching the protestor in the face, and falsely

arresting the protestor.

      57.    In August of 1996, several protestors were beaten and falsely arrested

by police officers. A number of protestors filed suit against the City and the officers

based on excessive force and false arrest. The City of Chicago settled the lawsuit.

      58.    On March 20, 2003, Chicago police officers trapped over 800 protestors

on Chicago Avenue without giving them orders to disperse and an opportunity to

leave. The officers were wearing riot gear and holding batons. The police then

arrested over 500 people. The remaining people were allowed to leave, but only after

they left behind their banners, signs, and other property, and walk in a single file

                                          14
  Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 15 of 35 PageID #:377




line with their hands raised in the air past the officers. Some protestors had their

bags searched by officers. The police also used force when they stormed the crowd

and struck people with riot batons. The officers’ actions were done with consent and

approval of the Superintendent of Chicago Police.

      59.    A federal lawsuit was filed against the City of Chicago, Superintendent

Hillard, and other CPD officers alleging various constitutional violations, and

municipal liability under Monell. Additional claims of excessive force, battery, and

denial of medical care were brought on behalf of some plaintiffs. The case was

settled for approximately $15 million. The day of the settlement CPD

Superintendent McCarthy stated that the case involved “important lessons” about

dealing with large groups of protestors, including the need to provide individuals

with orders to disperse and opportunities to leave.

      60.    In 2011, police used excessive force against legal observers as they

attempted to assist a young woman and child that had been battered by CPD during

an anti-deportation protest.

      61.    On March 11, 2016, police used batons and force to push anti-Trump

protestors. Several protestors were physically attacked and four were falsely

arrested during the protest. In one instance, a woman was grabbed by the hair and

thrown to the ground by an officer. The officer then kicked the woman on her body

and beat her multiple times on her head and body with batons. She was struck in

the head with a baton causing blood to drip down her face. Another individual was



                                         15
  Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 16 of 35 PageID #:378




grabbed from behind and threw to the ground. An officer then placed his boot on the

individual’s neck while conducting the arrest.

      62.    In 2015, the Department of Justice documented the racist, biased, and

anti-protestor views held by many officers who often express discriminatory views

on social media. The DOJ found that supervisors posted many of the posts if

reviewed.

      63.    Second City Cop, a popular police blog, contained content: “I have

already canceled my monthly subscription to a supplement company due to their

Social Justice Warrior-Virtue Signaling-BLM Pandering email they felt compelled

to send me to illustrate their ‘woke-ness.’ It’s time to start using these Communists

rules of engagement them. I purchased a product for the product, not to receive

political rhetoric about the values of BLM (founded by two Black female Marxists).

No thanks! I’ll spend my money with companies not afraid to speak the truth, if

there are any left.”

      64.    Second City Cop contains a volume of content demonstrating Chicago

police officers’ disdain and animus for protestors.

      65.    CPD’s violence and brutality against protestors is consistent with the

department’s widespread policy and practice of using aggressive tactics that

escalate encounters with individuals, increase tensions, and lead to excessive force.

CPD’s violence against protestors is an extension of CPD’s long-standing,

widespread practice of excessive force. This policy has been documented in the

Chicago Police Accountability Task Force, the federal courts, as well as by civil

                                          16
  Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 17 of 35 PageID #:379




rights leaders, City officials, and individuals targeted by CPD for violence and

abuse.

         66.   In April 2016, the Task Force released a report about the system of

training, accountability, and oversight of officers. In summary, the report noted that

the community’s lack of trust in CPD is justified. There is substantial evidence that

people of color have had disproportionately negative experiences with the police

over an extended period of time. There is also substantial evidence that these

experiences continue today with the use of force, foot and traffic stops and bias.

         67.   In January 2017, the DOJ released a report related to the pattern and

practice of unlawful conduct by officers. The report concluded that CPD officers

engage in a pattern and practice of using force that is unjustified, disproportionate,

and otherwise excessive. Further, officers use unnecessary and unreasonable force

in violation of the Constitution with frequency, and that unconstitutional force has

been historically tolerated by CPD. The CPD’s pattern and practice of unreasonable

force also includes the unnecessary, unjustified use of excessive, less-than-lethal

force, including Tasers, batons, emergency takedowns, body slamming, and hand-to-

hand combat. The use of unreasonable force to resolve non-violent encounters is a

recurrent issue within CPD. As a matter of pattern and practice, CPD uses overly

aggressive tactics that unnecessarily escalate encounters with individuals, increase

tensions, and lead to excessive force. The CPD fails to de-escalate encounters when

it would be reasonable to do so.



                                          17
   Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 18 of 35 PageID #:380




       68.   The CPD has disregarded recent consent decree requirements. The

City’s non-compliance and missed deadlines bear directly on CPD’s civil rights

abuses at the Summer 2020 protests. CPD failed to create adequate policies and

procedures for use of force, impartial policing, and crisis intervention and failed to

revise relevant use of force and accountability policies.

       69.   The CPD has fostered a widespread code of silence and failure to

discipline abusive officers. The CPD has maintained its widespread practice of

excessive force for years through promoting the “code of silence” and the failure to

discipline officers. Any officer who violates this code is penalized by the CPD. As a

result of these policies and practices of the City of Chicago, members of the Chicago

Police Department act with impunity when they violate the constitutional and civil

rights of citizens. This includes Defendant officers in this case.

       70.   In Obrycka v City of Chicago, et al., No. 07-cv-2372 (N.D. Ill.), a federal

jury found that, as of February 2007, the City of Chicago “had a widespread custom

and/or practice of failing to investigate and/or discipline its officers and/or code of

silence.”

       71.   Although a number of the Consent Decree provisions are designed to

eliminate the code of silence, CPD has failed to comply with these terms. For

instance, CPD failed to implement a policy to ensure officers who report misconduct

receive protection.

       72.   The CPD’s failures relate directly to the excessive force in this case. As

a matter of both policy and practice, municipal policy makers and department

                                           18
  Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 19 of 35 PageID #:381




supervisors condoned and facilitated a code of silence within the Chicago Police

Department. In accordance with this code, officers refused to report and otherwise

lied about misconduct committed by their colleagues, including the misconduct at

issue in this case. As a result of the City of Chicago’s established practice of not

tracking and identifying police officers who are repeatedly accused of the same

kinds of serious misconduct, failing to investigate cases in which the police are

implicated in a wrongful charge or conviction, failing to discipline officers accused of

serious misconduct and facilitating a code of silence within the Chicago Police

Department, officers (including the Defendant officers here) have come to believe

that they may violate the civil rights of members of the public.

                             Count I – 42 U.S.C. § 1983
                                Excessive Force

      73.    Plaintiff realleges each of the foregoing paragraphs as if fully stated

herein.

      74.    As described in the preceding paragraphs, the conduct of Defendants,

acting under color of law and within the scope of their employment, constituted

violations of the Fourth Amendment to the United States Constitution.

      75.    The conduct described in this Count was objectively unreasonable and

was undertaken intentionally with willful indifference to Plaintiff’s constitutional

rights.

      76.    As a direct and proximate result of the City of Chicago and Defendants

intentionally, knowingly, unlawfully and unconscionably acting in the manner


                                          19
  Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 20 of 35 PageID #:382




aforesaid, Plaintiff has and will suffer lost wages, benefits, and entitlements,

damage to his career and reputation, pain, suffering, and humiliation and severe

emotional distress and has been deprived of certain rights and privileges as a

citizen of the United States, in violation of 42 U.S.C. §1983.

                             Count II – 42 U.S.C. § 1983
                                Illegal Detention

      77.    Plaintiff realleges each of the foregoing paragraphs as if fully stated

herein.

      78.    As described in the preceding paragraphs, the conduct of Defendants,

while acting individually, jointly, and in conspiracy with one another, as well as

under color of law and within the scope of their employment, detained Plaintiff,

accused him of criminal activity, and instituted and continued proceedings against

Plaintiff without probable cause.

      79.    In so doing, Defendants caused Plaintiff to be detained without

probable cause, in violation of his rights secured by the Fourth and Fourteenth

Amendments.

      80.    The proceedings against Plaintiff were dismissed and terminated in

his favor.

      81.    The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, with reckless indifference to the

rights of others, and in total disregard of the truth and Plaintiff’s innocence.

      82.    As a direct and proximate result of the City of Chicago and Defendants


                                           20
  Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 21 of 35 PageID #:383




intentionally, knowingly, unlawfully and unconscionably acting in the manner

aforesaid, Plaintiff has and will suffer loss of liberty, great mental anguish, lost

wages, benefits, and entitlements, damage to his career and reputation, pain,

suffering, degradation, humiliation, and has been deprived of certain rights and

privileges as a citizen of the United States, in violation of 42 U.S.C. §1983.

                            Count III – 42 U.S.C. § 1983
                              Failure to Intervene

      83.    Plaintiff realleges each of the forgoing paragraphs as if fully stated

herein.

      84.    Certain unidentified Chicago Police officers did not participate in the

attack, but they, acting under the color of law and within the scope of their

employment, stood by and failed to intervene.

      85.    By reason of the unidentified officers’ conduct, Plaintiff was deprived of

his rights, privileges, and immunities secured to him by the Constitution of the

United States and laws enacted thereunder.

      86.    As a direct and proximate result of the City of Chicago and Defendants

intentionally, knowingly, unlawfully, and unconscionably acting in the manner

aforesaid, Plaintiff has and will suffer lost wages, benefits, and entitlements,

damage to his career and reputation, pain, suffering, and humiliation and severe

emotional distress and has been deprived of certain rights and privileges as a

citizen of the United States, in violation of 42 U.S.C. §1983.




                                          21
  Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 22 of 35 PageID #:384




                         Count IV – 42 U.S.C. § 1983
                 Conspiracy to Deprive Constitutional Rights

      87.    Plaintiff realleges each of the forgoing paragraphs as if fully stated

herein.

      88.    Each Defendant officer, acting in concert with other known and

unknown co-conspirators, conspired by concerted action to accomplish an unlawful

purpose by unlawful means.

      89.    In furtherance of this conspiracy, each of the Defendant officers

committed specific overt acts, misusing their police powers to violate Plaintiff’s

rights. They accomplished this goal by using excessive force on Plaintiff and

unlawfully violating his rights.

      90.    Each individual Defendant officer is therefore liable for violating

Plaintiff’s rights by any other individual Defendant officer.

      91.    As a direct and proximate result of the City of Chicago and Defendants

intentionally, knowingly, unlawfully, and unconscionably acting in the manner

aforesaid, Plaintiff has and will suffer lost wages, benefits, and entitlements,

damage to his career and reputation, pain, suffering, and humiliation and severe

emotional distress and has been deprived of certain rights and privileges as a

citizen of the United States, in violation of 42 U.S.C. §1983.

                           Count V – 42 U.S.C. § 1983
                   Policy Claim (Defendant City of Chicago)

      92.    Plaintiff realleges each of the forgoing paragraphs as if fully stated

herein.

                                          22
  Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 23 of 35 PageID #:385




      93.    The misconduct of Defendant officers alleged above was undertaken

pursuant to the policy and practice of Defendant City of Chicago. The City of

Chicago is liable for the violation of Plaintiff’s constitutional rights because

Plaintiff’s injuries were caused by the policies, practices, and customs of the City of

Chicago, as well as by the actions of policy-making officials for the City of Chicago.

      94.    At all times relevant to the events described in this Complaint and for

a period of time prior thereto, the City of Chicago had notice of a widespread

practice by officers and agents of CPD and the City of Chicago of using excessive

force against individuals, as well as covering up or providing false justification for

the use of force. Further, the City had notice of a widespread practice by officers and

agents of CPD and the City of Chicago in instigating false criminal charges in an

effort to create narratives to justify the use of force by CPD officers, often in

situations where the use of force was unjustified. The City also had notice of a

widespread practice by officers and agents of the CPD and the City of Chicago of

falsely arresting protestors, journalists, and legal observers in a manner which

chilled First Amendment free expression.

      95.    As a matter of both policy and practice, Defendant City encourages the

type of police misconduct at issue in this case by failing to supervise, train,

investigate, and/or discipline Chicago police officers, and these failures constitute

deliberate indifference. These widespread practices, individually and together, were

allowed to flourish because the leaders, supervisors, and policymakers of the City of

Chicago directly encouraged and were thereby the moving force behind the very

                                          23
  Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 24 of 35 PageID #:386




type of misconduct at issue by failing to adequately train, supervise, and control

their officers, agents, and employees and by failing to adequately punish and

discipline prior instances of similar misconduct, thus directly encouraging future

abuses such as those affecting Plaintiff. The widespread practices and customs were

able to exist and thrive because the policymakers with authority over the same

exhibited deliberate indifference to the problem, thereby effectively ratifying it.

      96.    The following of Defendant City’s policies and persistent widespread

customs and practices were the driving force behind Defendant officers’ misconduct

and caused harm to Plaintiff:

                    a. As a matter of both policy and practice, the Chicago Police

                       Department directly encourages, and is thereby the moving

                       force behind, the very type of conduct at issue here by failing

                       to adequately train, supervise and control its officers, such

                       that its failure to do so manifests deliberate indifference;

                    b. As a matter of both policy and practice, the Chicago Police

                       Department facilitates the very type of conduct at issue here

                       by failing to punish and discipline prior instances of similar

                       misconduct adequately, thereby leading Chicago Police

                       Officers to believe that their actions will never be scrutinized

                       and, in that way, directly encouraging future abuses such as

                       those affecting Plaintiff;



                                          24
Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 25 of 35 PageID #:387




                c. Generally, as a matter of widespread practice, so prevalent

                   as to comprise municipal policy, Chicago Police Department

                   officers abuse citizens in a manner similar to that alleged by

                   Plaintiff, yet the Chicago Police Department makes findings

                   of wrongdoing only in a disproportionately small number of

                   cases;

                d. City policymakers were deliberately indifferent to the series

                   of bad acts by Chicago Police Officers from which it can be

                   inferred that the City policymakers were bound to have

                   noticed what was going on, and yet they failed to act, thereby

                   encouraging or at least condoning (in either event, adopting)

                   the misconduct of Defendants;

                e. During the relevant time, the Chicago Police Department

                   had one or more of the following: (1) a custom of chastising

                   officers who violate the code of silence; or (2) a custom of

                   failing to train police officers to not retaliate against officers

                   who violate the code of silence; or (3) a custom of not

                   disciplining police officers who retaliate against officers who

                   violate the code of silence; or (4) a custom of failing to

                   supervise officers engaged in wrongful conduct properly;

                f. City policymakers are aware of (and condone and facilitate

                   by their inaction) a code of silence in the Chicago Police

                                      25
Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 26 of 35 PageID #:388




                   Department, by which officers fail to report misconduct

                   committed by other officers, such as the misconduct at issue

                   in this case;

                g. The City of Chicago and the relevant policymakers have

                   failed to act to remedy the patterns of abuse described in the

                   preceding sub-paragraphs, thereby tacitly approving and

                   ratifying the type of misconduct alleged here;

                h. The City of Chicago acquiesced in a longstanding practice or

                   custom of failing to discipline officers engaged in illegal

                   conduct from which the unconstitutional code of silence can

                   be inferred;

                i. The City of Chicago developed and maintained this

                   widespread de facto policy and custom with regard to

                   concealing and/or suppressing officer misconduct (both on-

                   duty and off-duty misconduct), including the use of unlawful

                   force. The concealment and suppression of the existence of

                   misconduct includes, but is not limited to: failure to

                   sufficiently investigate allegations of misconduct, failure to

                   accept complaints from citizens against police officers; failure

                   to promptly record witness statements or preserve evidence,

                   failure to promptly interview suspect officers, failure to

                   properly and sufficiently discipline officers, and failure to

                                     26
  Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 27 of 35 PageID #:389




                       initiate prompt disciplinary procedures related to alleged

                       misconduct; failure to investigate complaints against off-duty

                       officers in the same manner as complaints against citizens;

                   j. Using excessive force against protestors without justification,

                       including beating people with batons, punching, kicking,

                       kneeing and stomping protestors, hitting protestors with

                       bikes, and tackling protestors;

                   k. Escalating encounters through taunts, slurs, pushes, shoves,

                       and acts that illustrate police animus toward protestors;

                   l. Giving protestors no reasonable opportunity to leave areas

                       and/or trapping protestors in enclosed areas;

                   m. Breaking, stealing, or otherwise disposing of protestors’

                       property;

                   n. Failing to intervene to prevent police violence and other

                       forms of misconduct, failing to train officers how to respond

                       to protestors, make arrests at demonstrations, failing to take

                       steps to end the code of silence.

      97.    The City of Chicago developed and maintained this widespread de facto

policy and custom with regard to acts of illegality committed by officers against

civilians, which encouraged Defendants to believe that they could deprive Plaintiff

of his Constitutional rights with impunity and with the explicit or tacit approval of

the City of Chicago.

                                          27
  Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 28 of 35 PageID #:390




      98.     The City and CPD are aware of the harms suffered by plaintiffs and

other protestors as a result of the policies. Although the City and CPD are aware of

the history of police misconduct, the parties failed to act despite this knowledge.

      99.     The City has implemented, enforced, and encouraged, and sanctioned

CPD’s policies, practices, and customs alleged above in violation of Plaintiff’s and

other protestors’ rights. The City has acted with deliberate indifference to the rights

of Plaintiff. As a direct and proximate result of the acts and omissions of the City

and CPD, the rights of Plaintiff have been violated.

      100.    These policies, practices, or customs of Defendant City, individually

and/or collectively, were the moving force behind Defendant officers’ conduct,

depriving Plaintiff of his rights under the United States Constitution.

      101.    In addition, the misconduct described in this Count was undertaken

pursuant to the policies and practices of the City of Chicago in that the

constitutional violations committed against Plaintiff were committed with the

knowledge or approval of persons with final policy making authority for the City of

Chicago or were actually committed by persons with such final policymaking

authority.

      102.    Plaintiff’s injuries were directly and proximately caused by the officers,

agents and employees of the City of Chicago, including but not limited to the

individually names Defendants, who acted pursuant to one or more of the policies,

practices, and customs set forth above in engaging in the misconduct described in

this Count.

                                          28
   Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 29 of 35 PageID #:391




                               Count VI – State Law Claim
                                        Battery

       103.      Plaintiff realleges each of the forgoing paragraphs as if fully stated

herein.

       104.      As described in the preceding paragraphs, Defendant officers’ conduct,

acting within the scope of their employment as police officers, constituted

unjustified and offensive physical contact, undertaken willfully and wantonly,

proximately causing Plaintiff bodily injuries.

       105.      The misconduct described in this Count was objectively unreasonable

and   was     undertaken       intentionally   with   willful   indifference   to   Plaintiff’s

constitutional rights.

       106.      Defendant officers undertook the misconduct described in this Count

within the scope of their employment such that their employer, the City of Chicago,

is liable for their actions.

       107.      As a direct and proximate result of Defendant officers’ acts, Plaintiff

was injured, suffering bodily injuries, suffered emotional anxiety, mental trauma,

humiliation, fear, stress, pain and suffering, and other damages.

                               Count VII – State Law Claim
                                         Assault

          108.    Plaintiff realleges each of the foregoing paragraphs as if fully stated

herein.

          109.    As described in the preceding paragraphs, the conduct of Defendants,

acting within the scope of their employment as police officers, created a reasonable

                                               29
   Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 30 of 35 PageID #:392




apprehension of imminent harm, undertaken willfully and wantonly, proximately

causing Plaintiff emotional and other injuries.

          110.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally and with willful indifference to Plaintiff’s

constitutional rights.

          111.   The misconduct described in this Count was undertaken with malice,

willfulness, and reckless indifference to Plaintiff’s rights.

          112.   As a result of Defendants’ conduct, Plaintiff had a reasonable

apprehension that his life was in danger.

          113.   Defendants undertook the misconduct described in this Count within

the scope of their employment such that their employer, the City of Chicago, is

liable for their actions.

          114.   As a direct and proximate result of the Defendant officers’ acts,

Plaintiff was injured, suffered motional anxiety, mental trauma, humiliation, fear,

stress, pain and suffering, and other damages.

                          Count VIII – State Law Claim
                   Intentional Infliction of Emotional Distress

          115.   Plaintiff realleges each of the foregoing paragraphs as if fully stated

herein.

          116.   The conduct and actions of Defendant officers set forth above were

extreme and outrageous. Defendants’ actions were rooted in an abuse of power and

authority and were done intentionally, willfully, and wantonly, and/or knowing that


                                           30
   Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 31 of 35 PageID #:393




there was a high probability that their conduct would cause Plaintiff severe

emotional distress.

          117.     As a direct and proximate cause of the extreme and outrageous

conduct of Defendants, Plaintiff was injured and experienced severe emotional

distress constituting intentional infliction of emotional distress under Illinois state

law.

                             Count IX – State Law Claim
                                 Civil Conspiracy

          118.    Plaintiff realleges each of the foregoing paragraphs as if fully stated

herein.

          119.   Count IX is alleged against all Defendant officers.

          120.    Defendant officers together reached an understanding, engaged in

and continue to engage in the course of conduct, and otherwise jointly acted and/or

conspired among themselves to violate Plaintiff’s rights guaranteed by the Illinois

constitution.

          121.   In furtherance of this conspiracy, Defendant officers, together with

their known and unknown co-conspirators, committed the overt acts set forth above.

          122.   Defendant officers acted with malice, willfulness, and reckless

indifference to Plaintiff’s rights.

          123.   Each individual Defendant is therefore liable for violating Plaintiff’s

rights by any other individual Defendant.

          124. The conspiracy was and is continuing in nature.


                                            31
   Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 32 of 35 PageID #:394




          125. As a direct and proximate result of the Defendant officers’ conspiracy,

Plaintiff suffered damages, including mental distress, anguish, humiliation,

violation of his rights as set forth more fully above.

                             Count X – State Law Claim
                                   False Arrest

          126. Plaintiff realleges each of the foregoing paragraphs as if fully stated

herein.

          127. As more fully alleged above, Defendants unlawfully detained, arrested,

and imprisoned Plaintiff, or caused him to be unlawfully detained, without legal

justification to do so.

          128. Defendants acted willfully and wantonly in that they intended to

violate, or were recklessly indifferent towards violating Plaintiff’s rights.

          129. As a direct and proximate result of the Defendant officers’ conduct,

Plaintiff suffered damages, including mental distress, anguish, humiliation,

violation of his rights as set forth more fully above.

                             Count XI – State Law Claim
                                    Conversion

          130. Plaintiff realleges each of the foregoing paragraphs as if fully stated

herein.

          131. Defendants by use of force, assumed control of Plaintiff’s backpack,

necklace, and cellphone.

          132. Defendants’ assumption of control over Plaintiff’s possessions was

unauthorized and wrong.

                                           32
  Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 33 of 35 PageID #:395




          133. Plaintiff has the right to control and retain possession of his property,

but Defendants have deprived him of his personal property without his consent.

                             Count XII – State Law Claim
                               Malicious Prosecution

          134. Plaintiff realleges each of foregoing paragraphs as if fully stated

herein.

          135. Defendants individually, jointly and/or in conspiracy, initiated and

continued a malicious prosecution without probable cause against Plaintiff.

          136. The prosecution of Plaintiff terminated in his favor and in a manner

that is indicative of innocence.

          137. Defendants’ actions were committed in a willful and wanton manner.

          138. As a direct and proximate result of the Defendant officers’ conduct,

Plaintiff suffered damages, including mental distress, anguish, humiliation,

violation of his rights as set forth more fully above.

                            Count XIII – State Law Claim
                               Respondeat Superior

      139.     Plaintiff realleges each of foregoing paragraphs as if fully stated

herein.

      140.     Count XIII is alleged against Defendant City of Chicago.

      141.     In committing the acts alleged in this Complaint, each of the

individual Defendant officers were members of, and agents of, the Chicago Police

Department, acting at all relevant times within the scope of their employment.



                                           33
  Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 34 of 35 PageID #:396




          142. Defendant City of Chicago is liable as principal for all torts in violation

of state law committed by its agents.

                             Count XIV – State Law Claim
                                  Indemnification

          143. Plaintiff realleges each of the foregoing paragraphs as if fully stated

herein.

          144. Illinois law provides that public entities are directed to pay any tort

judgment for compensatory damages for which employees are liable within the

scope of their employment activities.

          145. Defendant officers are or were employees of the Chicago Police

Department, who acted within their employment scope in committing the

misconduct described herein.

                                PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, JOHN FIX, respectfully requests that this Court

enter judgment in his favor and against Defendants, CITY OF CHICAGO, Former

Chicago Police Officer MICHAEL SEISER, Chicago Police Officers REGINALD FOSTER,

BOJAN SIMIC, RICHARD BANKUS, BRANDON NEITA-SCOTT, SERGEANT SHANNON

MARTIN, and Unknown Chicago Police Officers, awarding compensatory damages,

costs, attorneys’ fees, along with punitive damages against each of the individual

Defendants, as well as injunctive and declaratory relief, and any other relief available

under the law.




                                            34
   Case: 1:21-cv-02843 Document #: 42 Filed: 09/07/21 Page 35 of 35 PageID #:397




                                  JURY DEMAND

       Plaintiff, JOHN FIX, hereby demands a trial by jury pursuant to the Seventh

Amendment to the United States Constitution and Federal Rule of Civil Procedure

38(b) on all issues so triable.

                                             Respectfully submitted,

                                             JOHN FIX


/s/ Steven H. Fine                           /s/ Jonathan M. Brayman

Steven H. Fine                               Jonathan M. Brayman
LAW OFFICES OF STEVEN H. FINE                BREEN & PUGH
53 W. Jackson Blvd., Ste. 1215               53 W. Jackson Blvd., Ste. 1215
Chicago, IL 60604                            Chicago, IL 60604
(312) 922-0855                               (312) 360-1001
steve@sfinelaw.com                           jbrayman@breenpughlaw.com




                                        35
